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   M ediation date

   From:AndreW .(wtandre@ yahoo.com)
   To: whjohnson@jambg.com
   Cc:        nolanyvonnelg64@ gmail.com;karenevans@litigationresolution.com
   Date: M onday,M ay 4,2020,06:52 AM PDT


   Good day M r.Johnson,

   Todayis May4st2020 assuch,andypu have notconfirm with Ms Evan'semailthatwassentApril
   27th 2020 with herbeing available form ediation on May 8th 2020 confirm wi
                                                                            th Ms Evan's. May 8th 2020 is this
   Friday.                                                                                    .

   Both you and yourclientindicated thatwhatwas done to me is because Iam a crim inalbutneither you are
   yourclienthas provided m e with proofas to why you'llIabelm e as such.Youroflice has taken advantage ofmy
   Iackofknowledgeofthe civilrulesasitpedainto this civilcase,assuch,have had thejudgesiding/granting
   yourevery requestdelaying and prolong this case.

   Mr.Johnson,April3,2017 did happen and no amountofm isdirection,m anipulation and delay
   Can change thatfact.


   Thejudge inthis case stated thatwe havea coud ordered mediation,he had extended the tri
                                                                                         aldate to
   11/23/2020.However,there was no mention ofa change in the m ediation date.You indicated thatyourclientis
   willing to do the m ediation in May,available dates,6,7,or8th.

   Youroffi
          ce and clienthas agreed to having M s.Karen Evans firm conducts m ediation,she has indicated via
   emailthatshe has M ay 8,2020 available and is more than prepared to preform the m ediation via Zoom .

   To date neitheryou and/oroffice had responded Iguess you are again trying to find anotherway to manipulate
   the case once again.Idon'tbelieve thatM s.Evans'firm has tim e to waist.

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   Andre v.Biro,et.aI.

    From:HamptonJohnson(whjohnson@jambg.com)
         M - andre@ yahoo.com
    Cc: young@jambg.com
    Date: M onday,M arch 23,2020,11:11AM PDT


   Good aflernoon M r.Andre,
    Pursuantto the LocalRulesforthe Southern Distdct Iam required to conferwith you priorto flling any
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   additionaloë cersyouhavenam ed (a11oo cersnotnamed Biroqfrom thisclaim becauseyou havenotpled any
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   Sincerely,
   W .H nm pton Johnson IV
   Partner
   Johnson,Anselm o,M urdoch,Burke,Piper& H ochm an,P.
                                                     A.
   2455 EastSundseBoulevard
   Suite looo
   Ft.Lauderdale,Florida 33304
   Phone:954-463-0100
   F=      954-463-2444

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   M ediation date

   From:AndreW .(wtandre@ yahoo.com)
   To: W Hlohnson@jambg.com
   Cc:   nolanr onnelg64@ '
                          gmail.comp
                                   'karenevans@ litigationresolution.com
   Date: M onday,May 4,2020,06:52 AM PDT


   Good day M r.Johnson,

   Today is M ay 4st2020 as such,and you have notconfirm w i th Ms Evan' s emailthatwas sentApril
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   Thejudge inthiscase stated thatw: have a courtordered mediation,he hadextended thetrialdateto
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  PursuanttotheCourt'sorderIhave attached below,the City isno longerhclinedtom ediatethism atteratthistime.
 Thankyou.


 Sincerely,

 W .Hampton Johnson IV


 On Mon,May 4,2020 at9:52 AM Andre W .<wtandre@ yahoo.com>wrote:
   Good day Mr.Johnson,

   Today is May 4st2020 as such,and you have notconfirm with M s Evan's emailthatwas sentApril
   27th 2020 with herbeing available form ediation on May 8th 2020 confirm with Ms Evan's. May 8th 2020
   is this Friday.

   Both you and yourclientindicated thatwhatwas done to me is because Iam a crim inalbutneither you
   are yourclienthas provided m e with proofas to why you'llIabelm e as such.Youroffice has taken
   advantage ofm y Iack ofknowledge ofthe civilrules as itpedain to this civilcase,as such,have had the
   judge siding/granting youreveryrequestdelaying and prolong thiscase.
   M r.Johnson,April3,2017 did happen and no amountofm isdirection,m anipulation and delay
   Can change thatfact.

   Thejudge inthiscase statedthatwe have a courtordered mediation,he had extended thetrialdate to
   11/23/2020.However,there was no mention ofachang: in the mediation date.You indicated thatyour
   clientis willing to do the m ediation in M ay,available dates,6,7,or8th.
   Youroffice and clienthas agreed to having M s.Karen Evans frm conducts m ediation,she has indicated
   via emailthatshe has M ay 8,2020 available and is m ore than prepared to preform the m ediation via
   Zoom .

   To date neitheryou and/oroffice had responded Iguess you are again trying to find anotherway to
   m anipulate the case once again.Idon'tbelieve thatM s.Evans'firm has time to waist.


   Sentfrom Yahoo M ailon Android




 W .H am pton Jolm son IV
 Partner
 Jolmson,M selm o,M tlrdoch,Burke,Piper& Hochm an,P.A.
 2455EastSunriseBoulevard
 Suite 1000
 Ft.Lauderdale,Florida 33304
 Phone:954 463-0100
 Fax: 954-463-2444
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   RE:M ediation date

   From: Karen Evans(karenevans@ lïtigationresolution.com)
   To: W Hlohnson@jambg.com;wtandre@yahoo.com
       nolanyvonnelg64@gmail.com;young@jambg.com
   Date: Thursday,M ay 7,2020,10:41 AM PDT


   ThankyouforIettinjmeknow;Iwillclosemyfileonthismatter.Ifatsomefuturedatethepadieswishto
   m ediate this action,ltwould be my pleasure to work with aIIofyou.


   W ishing everyone good health!


   Karen
   Karen Evans,Esquire




   Suite 1229
   The HistoricAl
                fred 1.DupontBuilding
   169 EastFlaglerStreet
   Miami,Florida 33131
   TeI:305-371-3250
   Fax:305-371-3341
   E-mail:KarenEvans@ LitigationResolution.com



    From :HamptonJohnson <W Hlohnson@jambg.com>
    Sent:Thursday,M ay 7,2020 8:58 AM
    To:wtandre@ yahoo.com
    Cc:nvanyvonnelg64@ gmail.com;KarenEvans<karenevans@li
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                                                                               ,CareyYoung
    qyoung@jambgacom>
    Subject:Re:Mediation date

    Good morning M nM dre,

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   Re:Andre v.Biro,et.aI.

   From:AndreW .(wtandre@yahoo.com)
   To: whjohnson@jambg.com
   Date: Friday,M arch 27,2020,09:50 AM PDT




     Good M om ing M r.Johnson,


     Iam in receiptofyouremailregarding the otherofficers.


     Firstand foremostIdid notreceive a Ietterfrom your5rm indicating thatyou
      represents Biro's accom plices as well,and atno tim e in ourbackand forth em ail
     and/orcorrespondences did you convey thatinformation.


     Inotice thatyou often address yourclientBiro as 'individually''and attim e you
     wouldhave ''Biro,et,al''Iikeyouhavenow.Iam assumingthatisyour
      underhanded way ofindicating thatyourfirm represents aIIofSunrlse police
     officers.


     You asked in whatway thatthe otherofficers are a party to this crime againstme,
     they are Biro's accomplices,they took pad in the brutalassaultagainstme,they took
     padintryinjtosend meawayfor30years.Theytookpartinwhatwasdonetome
     atthe hospltal. They work Iike gang m em bers,and ifsom eone is beaten
     up/assaulted by a gang ofmore than ten people and can only identi fy one ortwo
     does notmean thatthe others were nota party to the crim e,when itis wellknown
     thatthey are alwaystogether.
      Here are som e ofthe meanings and definitions according to courtIaws thatyou are
     supposed to follow thatyou are trying to find ways to m anipulate the unlawfulacts
     com m itted by yourclientand his accom plices. Iam providing you w ith some
     information case Iaws,etc.Iwould Iike a fullexplanation ora fulldescription in
     details in yourow n words,on how itdoesn'tapply to them .ln otherwords you as a
     attorney thatm astered the skills ofyourprofession and acknowledge aIIthe unlaM ul
     m isconductwithin his clientand his peers.


     Hide quoted text




     Here are som e ofthe facts in.
                                  case Iaws on accessory afterthe factofa crim es.
     Accessory Before The Factprim ary tabs

     Definition

                                                                                                    1/24
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     A personwho alds,abets,orencourages anotherto commita crime butwho is not
     presentatthe scene.An accessory before the fact,Iike an accom plice,may be held
     criminally Iiabletothe same extentasthe principal.Manyjurisdictions referto an
     accessory before the factas an accomplice.

     Illustrative case Iaw

     See,e.g.Standeferv.U.S.,447 U.S.10 (1980).
     Underthe English com mon Iaw,an accom plice is a person who actively padicipates
     in the com mission ofa crime,even ifthey take no partin the actualcrim inaloffense.
     Forexam ple,in a bank robbery,the person who points the gun atthe tellerand
     dem ands the money is guilty ofarmed robbery.Anyone else directly involved in the
     com m ission ofthe crime,such as the Iookoutorthe getaway cardriver,is an
     accom plice,even ifin the absence ofan underlying offense keeping a Iookoutor
     driving a carwould notbe an offense.

     An accom plice differsfrom an accessory in thatan accom plice is presentatthe
     actualcrime,and could be prosecuted even ifthe maincriminal(the principal)is not
     charged orconvicted.An accessory is generally notpresentatthe actualcrim e,and
     maybesubjecttoIesserpenaltiesthananaccompliceorprincipal.
     Atlaw,an accomplice has Iesserguiltthan the person he orshe is assisting:i
                                                                              s
     subjectto Iesserprosecutionforthe same crime,and facesthe smallercrimlnal
     penalties.As such,the three accom plices to the bank robbery above can also to a
     degree be found guilty ofarmed robbery even ifonly one stole money.

     The fairnessofthe doctrinethatthe accomplice isstillguil
                                                            tyhasbeensubjectto
     m uch discussion,particularly in cases ofcapitalcrim es.Accom plices have been
     prosecuted forfelony m urdereven ifthe actualperson w ho com m itted the m urder
     died atthe crim e scene orotherwise di d notface capitalpunishment.

     Injurisdictions basedon the commonIaw,the conceptofanaccomplice hasoften
     beenheavilymodi
                   sedbystatute,orreplacedbynew conceptsentirely
     Som e crimes are comm ltted by one person and som e are coordinated by several
     actors.Differentcrim es m ay require m ore orless people to pulloff,butin m any
     cases,there is m ore than one person involved in the crim e.To ensure aIIIiable
     padies who contributed to a crim e are prosecuted,California Iaw allows the
     grosecutionofaIIpersonsinvolvedinacrime,regardlesstowhatdegreetheywere
     Involved.In m any crim es,there are m ultiple actors who have various roles.W hile not
     euey roleisacrimeinandofitself,becauseitsuppodsthecrimebeingcommitted,
     itis lncrim inating.An accom plice is someone w ho aids orabets a crime,how ever
     they are stillconsidered one ofthe principalactors involved in a crime.This m eans
     they throughactionorinaction,supported,encouraged,assistedinorotherwise
     facllltated the comm ission ofa crime.Those who actin this role are seen as having
     accom plice Iiability by virtue thatthey were willingly involved in crim inalactivity.

     The punishm entsforbeing an accom plice to a crim e w illdepend on the facts and
     circumstances ofthe case.How you were involved,to whatdegree,how much you
     knew aboutthe crim e,whatthe crime was and yourcrim inalhistory would aIIaffect
     yoursentencing forbeing an accom plice to a crim e.Unfortunately,in many cases,
     the accom plice is given the sam e punishments as the person who actually executed
     the crim e.However,ifyou had a m inorrole in the crim e,orwere notaware ofthe
     significance ofthe crime,you m ay notbe punished as harshly as those with m ore
     significantroles.In orderforthe prosecution to convictyou ofa crim e by aiding and
     abetting,they m ustdem onstrate you contributed to the com mission ofthe crim e,
     eitherdirectly orindirectly!with w ords oractions thatencouraged orotherwise
     facilitated the crime.This Is a very broad definition ofaiding and abetting.You do not
     have to be actually presentwhen the crim e was com m i    tted,nordo you have to have
     been found with the executorofthe crime.Ifyou .lfyou knew aboutthe crim e,but

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  did notencourage,assistwith orfacilitate its com m ission,you cannotbe charged as
   aprincipalactorofthecrime.Itmaybedifficultfortheprosecutiontoproveyou
   aided and abetted a crime,so itis Im podantyou speak to a crim inaldefense
   attom ey aboutyourcase before pleading guilty.Key to aIIcriminalconvictions,you
   m usthave demonstrated intentto be an accom plice to the crime.Ifyou
   unintentionally became involved in a crime,and took action to notify authorities in an
   attem ptto stop it,you cannotbe charged with being an accom plice to a crim e
   because you took directaction to notassistits com mission in any way.

   Those who are notdirectaccomplices to the com m ission ofa crim e butratherare
   permissive ofthe crim inalbehaviorafterthe crim e has been com mitted can also be
   charged with a crim e.Being perm issive,even ifnotpresentwhen the crime was
   com m itted,by notreporting the crime to the authorities,m akes you an accessory to
   the crim e,butnota directcontributor.Ifyou sim ply assisted the criminalbehavior
   afterthefact,youareseenasobstructingjusticebutarenotconsideredaprincipal
   actorto the crim e.Accordingly,the punishments forbeing an accessory to the crim e
   afterthe factare Iess than ifyou were an accom plice to the crim e before orwhile it
  was committed.An accessoryto a crime canface a fine ofupto $5,000and/orupto
  oneyearina countyjail.Sometimes,people who initiallyagreed to be an
  accomplice to a crime decide thatitis no Iongersomething they wantto do.
  However,up untilthatpointthey could have been acting as an accom plice to the
  crim e.You may stillface crim inalcharges as an aiderand abettorifyou assisted in
  the crim e before hand,butdecided to wi   thdrawalfrom yourrole.However,ifyou
  took action afteryou withdrew to preventthe crim e from happening,you m ay be able
  to walk away with an accessory charge.Consultwith an experienced crim inal
  defense attorney i fyou are facing crim inalcharges forbeing an accom plice ofor
  accessory to a crim e.The prosecution m ustprove you assisted orencouraged the
  com m ission ofthe crim e.A skilled attorney can evaluate the case facts and advise
  you on whatstrong evidence the prosecutorhas againstyou and whatyourpotential
  defense options are.
   Are yourora Ioved one facing charges ofaiding and abetting a crim e in Tulare,
   Kings orFresno County area? Visalia crim inaldefense attom ey ChristopherMartens
   can bestadvise you on how to proceed with yourcase.AtThe Law Offices of
   ChristopherMadens,every clientgetsthe respectthey deserve.Attorney M adens
   has overten years experience as a criminaldefense attorney and has taken over50
   cases alIthe way to trial.M r.Martens w illnotbe afraid to sghtforyourrights in court
  W hati
       s Complicity orAccom plice Liability?

   Created by FindLaw's team ofIegalwriters and edi
                                                  tors.
   Com plicity is the actofhelping orencouraging anotherindividualto comm ita crime.
   Itis also comm only referred to as aiding and abetting.One who is complicitis said to
   be an accomplice.But,even though an accom plice does notad ually com mitthe
   crim e,his orheractions helped som eone in the com m ission ofthe crim e.
   The conceptofaccom plice Iiability m eans an accom plice faces the sam e degree of
   guiltand punishm entas the individualwho comm itted the crim e.Indeed,
   accomplices can face the same penalties,including prison tim e.The key
   consideration is whetherthe individualintentionally and voluntarily èncouraged or
   assistedinthecommissionofthecrime,or(insomecases)failedtopreventit.
   Elements ofAccomplice Liability

   Whileitvariesbystate,aprosecutortyqicallymustbeabletoqrovethefollowing
  fourelem entsto convictsomeone ofbelng an accomplice oralding and abetting:
   Exam ples ofCom plicity


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     The following exam ples illustrate the many ways an individualm ay be an accom plice
     to a criminalact:
     Serving as the getaway driverin a bank robbery.Turning offthe alarm system ofa
     jewelrystore inwhichyouwork,knowingthatitwillbe robbed Iaterthat
     evening.Loaning a handgun to som eone who you know is planning to comm ita
     crime.Directing a vehicleto a dead-end streetwhereyou know an armed carjackeris
     waiting.

     The Difference Between Com plicity and Conspiracy

     Eachstate'scriminalchargeswillvary,buttypicallyi
                                                    fyoutakesanactiveroleinthe
     planningofacrime,youcouldbechargedwlthbelnjpartofaconspiracy.A
     conspiratorajreeswlthotherstocommitafuturecrlme,whileanaccompliceassists,
     in som e way,In the actualcomm ission ofa crime.Furthermore,unlike accom plices
     to a crime,conspirators can be guilty even iftheirplan is notcom pleted.
     Exam ple:Ifa group ofindividuals gets together,agrees to plan and com m ita
     robbery,andtakesan overtactiontoaccomplish theirplan (e.g.purchasing a car,
     guns,andtoolsfortherobbery),theycouldeachbechargedwiththecrimeof
     conspiracy to com m itrobbery,even ifthe robbery neverhappens.However,i    fand
     when the planned robbery is comm itted by the individuals,they could be charged
     withbothconspiracyandrobbery(asprincipalsoraccomplices,dependingontheir
     role intherobbery).
     W hatIs an Accessory to a Crim e?
     An accessory to a crim e is a person who padicipates knowingly and voluntarily in the
     com m ission ofa crim e.An accessory can be categorized as before oraqerthe fact
     (thecommissionofthecrime). Theyneednotbeactuallypresentatthesceneof
     the crim e in orderto be held Iiable.The person actually com m itting the crim e is
     called the ''principal'

     Contents
     How Can One Be an Accessory to a Felony Crime?

     An accessory before the factis one who aids,abets,assists,incites,orencourages
     anotherperson inthe commissionofthe crime (suchasonewho preparesa weapon
     foranassaultorprovidesthe matchesforarson).An accessoryafterthefactis
     som eone who shelters,relieves,orassists a felon aftera crim e has already been
     committed (suchasthe driverofa getawaycarl.Assistance can take theform of
     financi
           al,material,oreven em otionalsuppod ofthe principalactor.
     The elem entsforone to be an accessory to a crime variesfrom state to state.ln
     orderto convid a person forbeing an accessory to a felony,a prosecutorm ustbe
     able to prove thatthe following fourelements:
     The crim e was com m itted by anotherindividualThe defendantassisted,helped,
     encouraged,oraided the otherperson in the com mission ofthe crimeThe defendant
     acted with intentforthe crime to be com pleted
     In m ostcases,the crim e does nothave to be ad ually com pleted to com pletion.As
     Iong as the defendantaided the otherperson in com m itting the crime and had intent
     forthe crime to be completed,then the defendantcould be found as being an
     accessory to the crime.
     W hatIs the Di#erence Between an Accessory to a Crime and a Conspiracy?
     The di fferences between being a accessory to a crime and com m itting a conspiracy
     varies.During a conspiracy,the conspiratorand anotherperson plan on com m itting
     a crim e in the future.The crime does notactually have to be com m itted oreven have
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     to be staded.Unce theconspirators make anagreementtocommitacrime and both
     have intentforthe crime to actually be com mitted,than a conspiracy has occurred.
     O n the otherhand,an accom plice ora accessory to a crim e has to actually take an
     active role in the com m ission ofthe crim e by aiding orassisting.

     W hatAboutanAccessory to a Felony Crim e?

     Felony crim es are very serious types ofcrim es and are punishable by sentences of
     overone yearin prison.Com mon types offelonies can include homicide crim es,
     drug violations,sexualassaul  tcrim es,and serious prope!ty crim es such as arson.

     An accessory charge is generally notin itselfa felony.However,being an accessory
     to a felony crime can Iead to non-violentfelony charges,which w illbe noted on one's
     crim inalrecord.This is important,because having a felony charge on a crim inal
     record can som etim es Iead to a Ioss ofvarious privileges,such as being able to ow n
     a firearm .An accessory to a felony crim e willusually recei
                                                                ve a sentence thatis Iess
     severe than the sentence forthe principalactor.
     FederalIaws state thatthe penalties foran accessory to a felony are notto exceed
     halfofthe m axim um prison time orfine thatthe principalrecei
                                                                 ves.Ifthe principal
     receives a death sentence,the accessory m ay be incarcerated forup to 15 years
     maxim um .States m ay also have theirown individualIaws governing accessories to
     a crime.

     W hatMustbe Proven fora Person to be Guilty as an Accessory?

     A prosecutorwould need to prove,beyond a reasonable doubt,thatthe accused had
     knowledge thatthe crim e was aboutto be comm itted:orhas already been
     com m itted.Additionally:they would need to prove thatthe defendantintentionally
     acted to assistthe crimlnalin theiroffense.
     Forexam ple,one who unknowingly provides shelterto a person who com m i    tted a
     felon willnotbe held guilty ofbeing an accessory afterthe fact.This is because they
     did nothave knowledge thata felony had been com m i  tted.
      RYAN MARSHALL vs.COM M ONW EALTH.463 Mass.529March 8, 2012 -October
                                                                      .
     15,2012SuffoIk Countypresent:IRELAND,C.J.,SPINA,CORDY,BOTSFO RD,
     GANTS,DUFFLX & LENK,JJ.
     Related Cases:

     65 Mass.App.Ct.571457 Mass.461
     RecordsAnd Briefs:

     (1)SJC-10997 01AppellantMarshallBrieftzlSJC-10997 02Appellee
     Com monwealth Brief

     OralArgum ents

     Homicide.Accessoryand Principal.ConstitutionalLaw,Doublejeopardy.Practice,
     Criminal,Capitalcase,Doublejeopardy.
     This courtconcluded thatw here the evidence ata crim inaltrialhad been insul cient
     to warranta finding ofguil
                              ton an indictmentcharging the defendantwith being an
     accessory before the factto murderinthesrstdegree,inviolation ofG.L.c.274,j 2,
     and the defendant's conviction had been vacated,a subsequentprosecution for
     murderinthe srstdegree did notviolatethe prohibitionagainstdoublejeopardy
     1533-535,537-5391,evenwhere certainjuryinstructi onsgivenatthe previoustrial
     hadbeen erroneousand evidence erroneouslyhad been admitted (539-540).
                                                                                                   5/24
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      Discussionofthiscoud'srecentdecisionsregarding thescope ofaccomplice (or
     jointventure)Iiabili
                        tyforcriminaloffenses.(535-5371
     CIVILACTION com menced in the Suprem e JudicialCoud forthe county ofSuffolk
     on April7,2011.
     The case was reported by Duffly,J.

     Richard J.Fallon forthe defendant.

     Shoshana E.Stem ,AssistantDistrictAttom ey,forthe Com monweaIth.

     CORDY,J.lnFebruary,2006,ajuryconvictedRyanMarshall(defendant)ofbeing
     anaccessorybeforethefactto murder,G.L.c.274,j2(j2):INote 11onan
     indictm entalleging thathe,'before the said felony was com m ltted,did incite,
     procure,aid,counsel,hire orcom m and thatnfournamed m en m urderGeorge R.
     Carpenter.Although the evidence attrialwas suffici entto establish thatthe
     defendanthad participated in the m urderous assault,we reversed his conviction in
     Com monwealth v.Rodriguez,
     Page 530

     457Mass.461,482-488(2010)(Rodriguez),because the evidence did notestablish
     thathe had done any actbefore the assaultto counsel,hire,orotherw ise procure it.

     Thereafter,the CommonweaIth soughtand the grandjuryreturned an indictment
     charging the defendantwith m urderforhi
                                           s involvem entin the killing.See G .L.c.
     265,j 1.The defendantmovedtodismissthe indictment,arguing that.because
     ''m urderis a form ora 'species'ofIesserincluded offense to accessory before the
     factto murder,'a second prosecutionwasbarred bydoublejeopardy.(Note2)A
     judge(whowasnotthetrialjudge)deniedthemotion.
     Pursuantto G.L.c.211,j3,the defendantsoughtrelieffrom this orderfrom a
     singlejusticeofthe countycourt,who reservedand reported the following questions:
     ''41)(Whether)wheretheevidenceisinsufficienttowarrantafindingofguiltonan
     indictm entcharging a defendantwith being an accessory before the factto murderin
     thefirstdegree,seeG.L.c.274,j 12),andthe defendant'sconvictionwasvacated,
     (Note 31a subsequentprosecution formurderinthe firstdegree underthatstatute
     wouldviolate the prohibitionagainstdoublejeopardy;and (2)(W hether)inthe
     circumstancesofthiscase,jiventheerroneousjuryinstructionsandtheerroneously
     adm ioed evidence,prosecutlon ofthis defendantform urderin the firstdegree is
     barred ongroundsofdoublejeopardy?''
     W e answerboth questions in the negative.

     Background.1.Evidence attrial.W e sum m arize the facts from the court's opinion in
     Rodriguez,supra at463-466.In the early m orning hours ofFebruary 16,2001,the
     victim w as drinking and socializing with friends atthe home ofDonna M edeiros,the
     defendant's m other.The defendant,his girlfriend,

     Page 531
     and three friends,RobertTirado,Jonathan Torres,and HeatherLawrence,arrived at
     the home shortly thereafter.

     Atsom e point,an argumentensued between the victim ,the defendant,and m rado.
     The confrontation between the victim and Tirado continued down the streetfrom
     M edeiros's home,where Tirado slashed the tire ofthe victim 's autom obile as as the
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        and Dennis Sm ith,arrived atthe scene.W ith the exception ofTorres!Tirado and
        these m en attacked the victim .One man struck the victim with a tire Iron.The
        defendantkicked him twice and attem pted to throw a trash barrelon him .The victim
        was rendered unconscious by the beating,and he died laterthatday as a resultof

    I2.
     acutemassi veintra-abdomi
                             nalhemorrhageduetobluntforcetrauma.
       Priorproceedings.Forhis involvem entin the killing,the defendantwas indicted as
        an accessory before the factto murderin the firstdegree and w as tried with
        Rodriguez,who had beenindidedformurderinthe firstdegree.(Note 41Attrial,the
        Commonwealthgroceededonthetheorythatthedefendantdid''
                                                            aid''Tirado,Badillo,
        Sm ith,and Rodrlguez in com mitting the m urder,the prosecutorhaving conceded
        thatthere was no evidence the defendanthad counselled,hired,orotherwise
     procuredthefelony.Thejudge,concludingthat''Ialccesso!ybeforethefacttofelony
    lis largely identicalto thejointventure doctrine,'accepted thistheory.Consequently,
    Iattheclose ofevidence,hetoldthejury:
     'To prove the defendantguilty ofbeing an accessory before the factto m urder,the
    jCom monweaIth m ustprove the following three things beyond a reasonable doubt.
    '
    tElementnumberone,thatsomeone otherthanthe defendantcommitted afelony;
    lnam ely,
    1             murder.Elementnumbertwo,
        Page 532

     thatIthe defendant)aided inthecommissionofthefelony.And elementnumber
    jthree,thatIthe defendant)had knowledgethatanotherintendedtocommitthe crime
    fand shared the m entalstate required forthe com m ission ofthe particularfelony
    i
    Ibeingquestioned.'
        Withregardtothesecondelement,thejudgetoldthejurythat'theCommonweaIth
        mustprovethat(thedefendant)did assistinthe commission ofthefelony,'meaning
     thatthe defendant''intentionally padicipated in some m eaningfuland significantway
     by agreeing to stand by,atornearthe scene,to renderaid,assistance,or
    1encouragementifsuch becam e necessary.''Aside from a briefstatem entatthe stad
        ofthe instruction,thejudge did notelaborate onthe temporalelementinherentin the
        offense ofbeing an accessory before thefactto murder.INote 5)Thejuryfound the
        defendantguil
                    ty on the indictmentofbeing an accessory before the factto m urderin
        thefirstdegreeona theoryofextreme atrocityorcruelty.INote 61
        W e reviewed the defendant's conviction in Rodriguez.supra at482-487,and
        concluded thatthe language ofthe indictment,al  though prescribed by statute,see
    IG.L.c.277,â 79,INote7)improperlyconflated the offense ofbeing an accessory
        before the factto a felony with thatofaiding and abetting a fel
                                                                      ony,an offense also
        includedwithinj 2 (see note 1,supra).Rodriguez,supra at482-485.Thatis,we
        construed j 2as adiculatingtwo ''separate anddistinctoffenses''- aiding afelony
    ,   and being
    lPage533
    Ianaccessorybeforethefacttoafel
                                  ony(Note8) and faulted the Com monweaIth
                                                        -

        for''improperlydefinIing)theoffenseonwhichIthedefendantlwastried.''Id.at485,
        486.W e noted that,although this errorin the wording ofthe indictment''may have
     beenexcusable onaccountofadherence to the statutoryform ...,thejudge (also)
    tsubmittedthecasetothejurywithimproperinstructions.''Id.at486-487.Asdetailed
    tabove,thejudgehadinstructedthejurythattheycouldconvictthedefendant'asan,
    'accessorybefore thefactifhe 'aided inthe commission ofthe murderof(the victiml.
        'Id.at487.Thatinstruction did notcompod with the form ofthe indictm ent,which
        alleged thatthe defendantacted before the com mission ofthe felony,even though it
        tracked the evidence attrial,which had established his ''active participation in,and
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    lpresencedurini,thecommissionofthefelony.'Id.Consequently,wedetermined
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    ( thatthe defendant'
                       s conviction ofbeing an accessory bebefore the factto m urder
    jcould notstand.ld.
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    lPrOhibition againstdoublejeopardy.Specifically.hecontendsthatmurderisakinto a
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    1prosecutionfora greateroffenseprecludessubsequent
        Page 534
        prosecution foralIits Iesserincluded crimes.''Com monwealth v.D'Amour,428 M ass.
        725,748(1999),quotingCostarelliv.CommonweaIth,374 Mass.677,683(1978).
        W e disagree.

        Atitscore,the prohibition againstdoublejeopardy,whichflowsfrom the Fifth
        AmendmenttotheUnitedStatesConstitution,aswellasthestatutoq andcommon
        Iaw ofMassachusetts,provides that''a person cannottwice be putinJeopardy forthe
    jsameolence.''CommonweaIthv.Burke,342Mass.144 ,145(1961),andcases
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    jci
      ted.See Bentonv.Maryland,395U.S.784,794 (1969)(applyingFederal
    l
    IconstitutionalguaranteesagainstdoublejeopardytoStatesthrough Foudeenth
    IAmendmenttoUnitedStatesConstitutionl;Choyv.CommonweaI     th,456Mass.146,
    l147 n.2,cert.denied,131 S.Ct.425 (2010)'
                                            ,G.L.c.263,j 7.Thisprinciple,
        however,,risnotonerule butseveral,eachapplyinjtoadi
                                                          fferentsituation.
                                                                          ,andeach
        . ..   m arooned in a sea ofexceptions.''Note,Twlce In Jeopardy,75 Yale L.J.262,263
    I(1965).Thus,thebarprotectsagainstthreespecificevils- ''asecondprosecution
    Iconvi
     forthe sameoffenseafteracquittal;asecondprosecutionforthesameoffenseaqer
          ction;and m ultiple punishm ents forthe same offense,''Mahoney v.
        CommonweaIth,415Mass.278,283(1993),citingNorthCarolinav.Pearce,395
        U.S.711,717(1969)- whiletoleratingcertainconductfrom theState.See,e.g.,
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    j However
            ,anexceptiontothegeneralruleaqplieswhereamistrialisdeclaredasa
    'matterof'manifestnecessity'''(citationsomlttedl).
        From thisweb ofjurisprudence,the defendanthaspluckeda single strand - that
        pedaining to greaterand Iesserincluded offenses.He recites the governing principle
        accurately (the Stategenerallyisprohibited from successi
                                                               ve prosecutionsfora
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        presentationisultimatelyunjersuasive.Murder,prosecutedonatheoryofaiding
    Iand abetting,is nota IesserIncluded offense ofaccessory
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     beforethefacttomurder.Rather,thetwoaredi
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             ofone who 'aids'
                              revisittheRodriguezcase,whereweconcludedthatthe
                            'are differentfrom the actions of''accessories before the
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        constructionofj2goestoofar,andisanoutlleramongourrecentdecisions
        regardingthe scope ofaccomplice (orjointventure)liability.Thatis,although we
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    y
      drove atheoreticalwedge betweentwoformsofaccomplice Iiability.in Rodriguez,we
    jhaverenouncedelsewheresuch''
                                falsedistinctionlsl''thatIongcomplicatedthe
    idoctrine,see Commonwealthv.Zanetti,454Mass.449,464(2009)(Zanetti),and
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     putfodhinsteaàapracticalframeworkgroundedinits''essentialelements'of
     knowing participation and shared crim inalintent.Id.at467.See,e.g.,
     CommonweaIthv.Ortiz,424 Mass.853 ,856-857 (1997)(Odiz).W e affirm these
     priorholdings,and reconsiderthe relationship between the charge ofmurderand
     thatofbeing an accessory before the factto murderin Iightofthem .
     W e turn to ourdecision in Ortiz,w here we reviewed the com mon-law origins of
     accomplice Iiability,aswellasthe statutoryinterventions broughtby j2 and its
     counterpad,G.L.c.274,â 3(j 3).(Note 11JW e explained that,atcommon Iaw,the
     padies to a felony fellinto one offourclassiscations - principals in the firstor
     second degree,and accessories before and afterthe fact.Ortiz,supra.These
     classifications,however,proved untenablesas they ''led to num erous procedural
     dilculties thattended to shield an accessory before the factfrom punishm enteven
     thoughthe accessor/s active criminalinvolvementin thefelonywas clearly
     established beyond a reasonable doubt''Id.at857 & n.5.To rem edy these
     infirmities,the Legislatureenacted jj 2 and 3,which,respecti
                                                                vely,made ''ajoint
     participantin

     Page 536

     the com m ission ofa felony Iiable to the sam e extentas the principalfelon''and
     removed certainjurisdictionalimpedimentsto prosecuting an accessorywithoutthe
     principal.Ortiz,supraat857,858 & n.6.Although both provisions''continueld)touse
     theterm 'beforethefact'*id.at857,thephrasenow apjearstobeavestijeof
     history,asthe statutorychanges''abrogateld)the distinctlon between princlpalsand
     accessories before the fact.''Id.

     The im portofthis statem entcom es into sharperfocus w hen viewed alongside our
     2009 decision intheZanetticase.There,we reformulated thejuryinstructions
     governingaccomplice liability,formally dispensing with thevocabularyof''
                                                                            joint
     venture''(whichadhered tothe classi  ficationsdescribed above)infavorofthe
     Ianguajeof''aidingandabetting''(whichfocusedontheessenceofthejointventure
     allegatlon,knowing participation inthe criminaloffense).Id.at467-468.Asa result,
     we crafted a statem entofIaw thathewed more closely to the framework described in
     the Odiz case:whethercastas a principaloraccessory in the past,a defendantm ay
     beheldIiableforacrimeif''
                             theCommonweaIthhasprovedbeyondareasonable
     doubtthatthe defendantknowingly padicipated in the com m isslon ofthe crim e
     charged,alone orwith others,with the intentrequired forthatoffense.''Zanetti:supra
     at468.Drawinjfrom thesubstantiveIaw ofaccompliceIiability,wefudherclarlfied
     thescopeofthls intentionalparticipation in 'Ialn appropriatejury instruction:''
     ''Such padicipation m ay take any ofseveralform s.Itm ay take the form ofpersonally
     com m i
           tting the acts thatconstitute the crim e,orofaiding orassisting anotherin
     thoseacts.Itmaytaketheform ofaskingorencourajinganotherpersontocommit
     the crime,orhelping to plan the com mission ofthe crlme.Altem atively,itm ay take
     theform ofagreeingtostandbyat,ornear,thesceneofthecrimetoactasa
     Iookout,orto provide aid orasslstance in com mitting the crime,orin escaping,if
     such help becom es necessary.''

     Id.at470(Appendix).Thus,asthisinstructionrecognizes,withjj2and3inplace,
     a wide range ofconductunderlying a
     Page 537

     person's liabilityfora crim inaloffense,including thatw hich had hïstori
                                                                            cally been
     described as accessory before the factto a felony oraiding and abetting a felony,
     plainly falls underthe rubric ofaccomplice Iiability,and,consequently,may be
     charged asthesubstanti
                          ve offense.INote 12)See CommonweaIthv.Moure,428
     Mass.313 ,316-318(1998)(discussingprosecutor'sdecisiontoproceedagainst
     defendantas accessorybefore factto murderunderj 2 ratherthan directlyon
                                                                                                      9/24 .
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     substantivefelony underj 3ofstatute).See also CommonweaIthv.Caramanica,49
     Mass.App.Ct.376,381(2000)(notingthat''statutoryaccessorycrimes(i.e.,5â2
     and 3)...areoften availableto prosecutors,butapparentlyrarely usedas abasis
     forindictment'').
     Itis this Iastpointthatcontrols the case before us.W hetherthe defendantengages
     in conductbefore the com m ission ofthe victim 's m urderto ensure its
     accomplishment,aidsinitscommissionbyothers,orcommitsthemurderousassault
     himself,he is Iiable form urderand,ifconvlcted,willbe so punished.W e cannotsay,
     then,thateach is a wholly independenttheory ofcrim inalIiability.See
     Commonwealthv.Santos,440 Mass.281,290 (2003),overruled onothergrounds,
     CommonweaIthv.Anderson,461Mass.616,633-634 (2012)(''WhiIewesometimes
     use theterm 'theory'ofprincipalIiabili tyor'theory'ofjointventure,those are not
     alternate,differing 'theories'ofthe crime thatareto be subjected to the specisc
     unanimityandverdi    ctsliprequirements...'').Rather,werecognizethe
     interrelati
               onshiqamonjthem,andconceptualizethem asdi
                                                       fferentroutestothe
     sameend:crimlnalIiabllityasaknowingparticipantinacrime(here,murder).
     W ith this fram ework in m ind,we retum to the potentialdoublejeopardy impl
                                                                               ications
     ofthe second indictm entbroughtagainst

     Page 538

     the defendant.Asnoted above,the prohibitionagainstdoublejeopardygenerally
     forbids a second prosecution forthe sam e offense afterconviction oracqui
                                                                             ttal.See
     Mahoneyv.Commonwealth,415Mass.278,283(1993),citingNorthCarolinav.
     Pearce,395 U.S.711,717(1969).Itdoes not,however,necessarilybara retrial
     where a conviction has been setaside on appeal.See Hicks v.Com monweaIth,345
     Mass.89,91(1962),cert.denied,374 U.S.839(1963),andcasescited('Ithas
     been held repeatedly by this courtand by the Supreme Courtofthe United States
     thata defendantcan be tried a second tim e foran offence when his priorconviction
     forthatoffencehasbeensetasideonhisappeal'').SeealsoUnitedStatesv.Ball,
     163U.S.662,672(1896)('adefendantzwhoprocuresajudgmentagainsthim upon
     an indictm entto be setaside,m ay be tned anew upon the sam e indictm ent,orupon
     anotherindictment,forthe same offence onwhichhe had been convicted'
                                                                       ').(Note
     13)
     This''exception'
                    'to thedoublejeopardy baris notwithouti
                                                          tsown exceptions.The
     State,forexam ple,generally cannotretry a defendant''when an appellate coud
     ovedum s a convicti
                       on because ofinsumcientevidence.''K.B.Sm ith,Crim inal
     Practice and Procedure @24.57,at393(3ded.2007).But,itmay do sowhereother
     theories(suppoded by evidence atasrsttrial)would suppod a defendant's
     conviction in the second,see Com monweaIth v.Fickett,403 M ass.194 ,199-200
     n.4 (1988),orwherea convictionis reversed on appealbecause ofavariance
     between the indictmentand the proofestablished attrial.See Com monweaIth v.
     Ohanian,373 Mass.839 ,844 (1977),

     Page 539

     citingG.L.c.263,j8(notingthat,althoughjudgmentswerereversed,verdictswere
     setaside,and indictments were dism issed due to fatalvariance,such disposition did
     ''notbarconvidionforthesamecrimesonnew indictments').
     W e are ofthe view thatthe presentcase falls within the boundaries ofthese Iatter
     two categories.?In general,a crim e m ustbe proved as charged and m ustbe
     chargedasproved.'K.B.Smith,CriminalPracticeandProcedure,supraatj 15.40,
     at872.Here,however,the indictm entspecifically charged the defendantwith
     enjaginginconduct'beforethesaid Imurder!wascommitted''(emphasisadded),
     whlletheproofattrialestablishedthathejoined intheattackbykickingthevictim,
                                                                                                    10/24
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6/5/2020    0:19-cv-62181-AMC Document 36-1Yahoo
                                              Entered   on
                                                 Mail-Re:  FLSD
                                                         Andr       Docket
                                                             ev.Biro,et.al. 06/09/2020 Page 24 of 39

      and thejudge'iinstructions directedthejuryto convictthe defendantiftheyfound
      thathehad''intentionallyjadicipated''inthemurderousassault.Althoughtheproof
      ofIiability attrial,and the Jury instructions thataccompanied it,would have sufficed if
      the defendanthad been indicted sim ply forthe m urderi   tself,they were atvariance
      with the wording ofthe indictm ent.Although we did notem ploy this term specifically,
      we essentially concluded in Rodriguez,supra at487,thatsuch a variance was fatal:
      the defendantwas convicted ofa crime forwhich he had notbeen indicted.See,
      e.g.,Com m onwealth v.O hanian,supra at843'       ,Comm onwealth v.Pearson,77 Mass.
      App.Ct.95,101-102 (2010).Ourrulingonthedefendant'sappealinthe Rodrïguez
      case,then,did noterecta doublejeopardy barto subsequentprosecution forthe
      crim e proved atthe firsttrial,and the Com monweaIth is entitled to try him again
      underan appropriate charging instrument.See United States v.Ball,supra;Hicks v.
      CommonweaIth,supra.(Note 14)
      Although the preceding discussion sufsces to address the srstreported question,we
      brieflytouchonthesecond.Thesinglejustice askswhether,''inthe circumstancesof
      this case,given the erroneousjuryinstructionsand the erroneously admitted
      evidence Iand testimonyofthemedicalexaminer),prosecutionofthis defendantfor
      murderin thefirstdegree is barred on groundsofdoublejeopardy.''The defendant
      argues that,in

      Page 540

      framingthe question asshe does,the singlejusticeflagsforourconsiderationthe
      possibili
              tythatM assachusetts com mon and statutory Iaw may provi
                                                                     de greater
      doublejeopardyprotectionsthandoesthe FederalConstitution.Althoughwe may
      have intimated as m uch on selectoccasionsrsee,e.g.,Com m onweaIth v.Vick,454
      Mass.418 ,433-435(2009),we neverhave''intendedto erode ...ourwell-
      established and historicschemeforanal
                                          v ing doublejeopardy principles,''
      Commonwealthv.Niels N.,73 Mass.App.Ct.689 ,710 (2009)(Cypher,J.,
      dissentinginpart),nordowefindcausetodepartfrom them now.Asdetailedabove,
      we reversed the defendant's firstconviction because he wastried and convicted ofa
      crime forwhich he was notcharged.The subsequentindictment,then,does not
      constitute harassm entby way of''m ultiple and successive prosecutions,''com pare
      CommonweaIthv.Gallarelli,392 Mass.573 ,574 (1977),nordoes itamountto an
      overzealous attem ptto obtain Racticaladvantage''overthe defendant.Glawson v.
      CommonweaIth(No.1),445Mass.1019,1021(2005).Rather,itservesasan
      attemptby the Com monweaI   th to repeatits initialand successfulcase underan
      appropriate charging instrum ent,an outcom e thatthe guarantees againstdouble
     jeopardysurelytolerate.See CommonweaIth v.Fickett,supra.Seealso G.L.c.263,
     ï 8.
      Conclusion.Forthe reasons discussed,we answerboth ofthe repoded questions in
      the negative.The matterisremandedto the singlejusticeforfudherproceedings
      consistentw ith this opinion.

      So ordered.
      FOOTNOTES

      INote 1)GeneralLawsc.274,b 2,provides:''W hoeveraids inthecommissionofa
      felony,oris accessory thereto before the factby counselling,hiring orotherwise
      procuring such felony to be com mitted,shallbe punished in the mannerprovided for
      the punishm entofthe principalfelon.''

      (Note2)Thedefendantalsoallegedthatthe successive and multiple prosecutions
      constituted harassm entby the Com monweaIth because the originalcharge of
      accessory before the factwas soughtto elim inate the possibili
                                                                   ty thathe would
      receive a Iesserm anslaughterverdicton a m urderindictm ent.
      INote3)lnCommonweaI
                        thv.Rodriguez,457Mass.461'
                                                 #487488& n.34(2010)
                                                                                                       11/24
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                                          Entered    And
                                                    on  rev.Biro,
                                                       FLSD      et.aI. 06/09/2020 Page 25 of 39
                                                                Docket
     (Rodriguez),wù reversed,ratherthanvacated,the defendant'sconviction because
     he could notbe retried as an accessory before the fact.The indictmentwas
     dism issed by the SuperiorCoud.

     INote 4)Aswe explained in Rodriguez,supra at462 n.4,RobertTirado,Orlando
     Badillo,and Dennis Sm ith also were charged with m urderin the firstdegree fortheir
     involvementinthe killing,while JonathanTorres(Iike the defendant)wasindicted as
     an accessory before the factto m urder.The cases were paired fortrial:''
                                                                            Tirado and
     Torres were tried first;m rado was convicted ofm urderin the second degree,and
     Torres was acquitted.Afterbeing tried together,both Badillo and Smith were
     convicted ofmurderin the second degree.''ld.

     INote 5)Thejudgetoldthejury:'The phrase 'before thefact'refersto time.The
     defendant...is accused ofhaving been an accessory to a felony before thatfelony
     was com m itted.''

     (Note 6)Thejury alsofound LionelRodriguez,withwhom the defendanthad been
     tried,guilty ofmurderin the firstdegree,on a theory ofextrem e atrocity orcruelty.
     On appeal,we reduced this conviction to m urderin the second degree because,
     although otherproperly adm itted evidence established thatRodriguez had
     com m itted an unlaw fulkilling,certain medicalevidence and testim ony pertinentto
     the theory ofextreme atrocity orcruelty was erroneously adm itted.Rodriguez,supra
     at475-482.

     (Note 7)GeneralLawsc.277,1 79,providesin relevantpartthattheannexed form
     ofan indictmentalleging ''thatA.B.,before the said felony was com m iqed,did incite,
     procure!aid,counsel,hireorcommandthesai
                                           d (principal)thesaidfelonytodoand
     com m i
           t,'shallbe ''sufficient'to allege the crim e ofaccessory before the fact.See
     CommonweaIthv.Daughtry,417Mass.136,141-142n.3(1994).
     INote8)Underthisrubric,the''aiding''prong(colloquiall
                                                         y,''aidinjandabetting'')
     captures conductthatconsti tutes actualassistance in the comm lssion ofthe felony,
     and requires som e degree ofknowing padi cipation.Rodriguez,supra at484.In
     contrast,the laccessory'
                            'prong encom passes padicipation in an act''thatIed up to
     orin some way contributed to the occurrence ofthe felonyy''butthatoccurred pri orto
     thecommissionofthefelony(i.e.,'counselling,hiringorotherwise procuring''it).Id.
     INote 91Thisindictmentallegesthatthedefendant,''on oraboutFebruary 16,2001.
     . .did assaultand beatG eorge Carpenterwith intentto m urderhim and by such
     assaultand beating did killand m urderthe said George Carpenter.11Although this
     indictm entdoes notstate explicitly thatthe Com monwealth w illproceed on an aiding
     and abetting theory againstthe defendant,statem ents made in the Com m onwealth's
     brief,aswellastheapproachadoqtedandtheevidencepresentedinthefirsttrial,
     plainly supportthe conclusion thatI
                                       twill.

     INote 10)The defendantreachesthisconclusion by arguingthat,underthe statutory
     scheme,''everyone guilty as an accessory before the facti
                                                             s also guilty ofthe felony,
     butnotvice versa ....Putanotherway ...m urderis 'necessarily accom plished'on
     comm ission ofaccessory before the factto m urden''

     INote 11)GeneralLawsc.274,j3,providesinqedinentpart:''Whoevercounsels,
     hires orotherw ise procures a felony to be com m ltted may be indicted and convicted
     as an accessory before the fact,eitherwith the principalfelon orafterhis conviction',
     ormay be indicted and convicted ofthe substantive felony,whetherthe principal
     felon has orhasnotbeen convicted,orisorisnotamenable tojustice'
                                                                   ,and inthe
     lastmentioned case m ay be punished in the sam e m anneras i
                                                                fconvicted ofbeing
     an accessory before the fact....''

     INote 12)Thisoutcome isnotsurprising,as bothprongsofG.L.c.274,j2,had
     long been viewed asa unifiedtheoryofjointventure Iiability.See CommonweaIthv.
                                                                                                   12/24
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                                                      :Andr       Docket
                                                           ev.Biro,et.aI. 06/09/2020 Page 26 of 39
     Ortiz,424 M ass'. 853 ,856 (1997)'
                                      ,CommonweaIthv.Soares,377 Mass.461,470,
     cert.denied,444 U.S.881 (1979)('Thetheory underlyingjointenterprise isthatone
     who aids,com mands,counsels,orencourages comm ission ofa crime while sharing
     with the principalthe mentalstate requiredforthe crime isguiltyasa principal').See
     also Commonwealthv.Zanetti,454 Mass.449 ,468 (2009)(shiftto Ianguageof
     aidingand abetting ''doesnotenlarge ordiminishthescope ofexistingjointventure
     IilqL)iIitht'').
     (Note 13)The United StatesSupreme Courthas explained theoriginsofthis rule
     succinctly:''
                 AtcommonIaw aconvictedgersoncould notobtainanew trialbyappeal
     exceptin certain narrow instances.As thls harsh rule was discarded courts and
     Iegislatures provided thati
                               fa defendantobtained the reversalofa conviction by his
     ownaqpealhecouldbetriedagainforthesameoffense.Mostcourtsregardedthe
     new trlalasa secondjeopardy butjustified this onthe groundthatthe appellanthad
     'waived'hispleaofformerjeopardybyaskingthattheconvictionbesetaside.Other
     coudsviewedthesecondtrialascontinuinythesamejeopardywhichhadattached
     atthefirsttrialby reasoning thatjeopardy dId notcometo an end untilthe accused
     was acquitted orhis conviction became final.Butwhateverthe rationalization,this
     Coud has also held thata defendantcan be tried a second time foran offense when
     his priorconviction forthatsame offense has been setaside on appeal.''Green v.
     UnitedStates,355 U.S.184,189(1957),citingUnitedStatesv.Ball,163U.S.662
     (1896).
     (Note 14)AsG.L.c.274,j 3,expressly provides,one chargedw ith accessory
     before the factm ay be ''indicted and convicted ofthe substantive felony,''here,
     murder.

     In Florida,False R epod ofa C rim e,or'False Police Report,'
     occurs w here a person m akes a w illfulallegation
     to Iaw enforcem entregarding the com m ission ofa crim e,w hile
     know ing thatno such crim e has occurred.The o@ense carries
     m isdemeanorpenalties,including up to 1yearinjail.


     2. D E FIN IT IO N O F FA LS E
     R E P O R T O F A C R IM E
     Thedefnition ofFalse Reportofa Crim e,orTalsePoliceReporq'iscontained
     inSectionMpsz-
                  dtg,FloridaStatutes.Underthelaw,itisacriminaloffensefora
     person to w illfully and knowingly give false inform ation orm ake a false report
     regarding the com m ission ofa crim ethattheperson knowsdid notactually
     OCCUT.


     FalseReportoftheCom rnission ofa Crim eisdistinguished from tlzeoffense
     ofGivi  jx1j
          m gl- ..
                 ç.
                  -lpJ-p-c
                  -          atip-qtoPp-
                                       liceinthat,underSection817.49,aperson
     reportsa clim ethatthey krlow did notactually takeplace.




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6/5/2020    0:19-cv-62181-AMC Document 36-1Yahoo
                                             Entered    on
                                                 Mail-Re:  FLSD
                                                         Andr        Docket
                                                             e v.Biro,et.aI. 06/09/2020 Page 27 of 39

      REùUIRED pnooFATTRIAL
      To prove the offense ofFalse Repol'tattrial,the prosecution m ustestablish the
      follow ing fourelem ents beyond a reasonable doubt:

              Theaccusedwillfullygaveorsaid (orcausedtobegiven orsaid)fzse
              inform ation ora false reportaboutthecom m ission ofan alleged crim e in
              Florida;
              Theaccused lm ew theinform ation orreportwasfalsebecause no such crim e
              had actually been com m itled;
              '
              I'
               heinform adon orrepot'twasgiven orsaid(orcausedtogiven orsaid)toa
              1aw enforcem entoo cer;and           .
              Theaccused lm ew orshould have lm own thatthe person to whom the
              informationorreportwasgivenwasalaw enforcement/policeoocer.



      P E N A LT IE S FO R FA LS E R E P O R T
      FalsePoliceReport/FalseRepol'tofaCrimeisclassifed asafrstdegree
      misdemeanor..Assuch,theoffensecarriespenaldesofup tolyearinjailor12
      m onthsofprobation,anda$1,ooo.oofine.




      D E FE N S E S T O FA LS E P O LIC E
      R E PO RT
      Therearem any defensesavailableunderFlorida1aw to contestachargeof
      False Police Report.The m ostcom m on defenses are facm alor evidentiary in
      nature.




      REPO RT NOT PROVA BLY FA LSE

      Often,law enforcem ent,ininvestigatinganincident,willjump toconclusions
      and take oneperson'ssideoveranother.In theirhasteto arrestsom eone,they
      m aypursuechargesagainsttheperson tlzey choosenotto believe.W herethere
      iscontrary evidencesupporting adefendant'ssideofthestory,thism ay put
      into contendon whetherthe reportwasin factfalse.




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6/6/2020 0:19-cv-62181-AMC Document 36-1Yaho
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                                                     :AndFLSD    Docket
                                                         rev.Biro,et.aI. 06/09/2020 Page 28 of 39
     MISV KENBZLIEFlMISINFORMATION
     Even iftherepoz'tt'urnsouttobefalse,theprosecution mustestablish thatthe
     accused knew thatthe inform ation contained in the reportw as false.W here the
     accused w as sim ply m istaken,given m isirlform adon by som eone else,or
     m isconstrued thesituation,thiswillprovideapowerfuldefense.



     NO KNOW LEDGE O F POLICE

     Even ifthe inform ation is false,and even ifthe accused knew itw as false,the
     inform ation orrepot'tm ustbegiven orm adeto a1aw enforcem entoffcer,nota
     bystanderorotherperson.Thusthereoften defenseswheretheaccused did not
     lm ow theperson wasapoliceofGcer,ordid notintend theinform ation they
     gaveto reach thehandsofoo cers.


     Nfhat H appens Nfhen Y ou File A False
     Police R eport?
     Ifyou'reawitnessorvictim ofacrim e,oneoftheGrststepstojusticeis
     flling a policereport,which helpsprom ptan investigation.And while itis
     im perativetobe com pletely honestand detailed when m aking a statem ent
     tothe authorides,som etim esfalse statem entsare given,instead.So,why
     would som onefile a falsepolicereport?

     There are a num berofreasons- som etim esit'sdoneto shiftthefocusof
     an investigation away from oneself.On otheroccasions,afalse police
     repod m aybem ade in orderto m akean innocentpazly appearguilty.
     Regardlessofthereasons,fling a false policerepol'tisa seriouscrim ethat
     carriesrealconsequences.

     The Charges:Lying To The Police
     A falsepolicerepo/ alwaysinvolvestheelementofknowingly suppl/ng
     incorrectinform ation,which typically resultsin tlze charge oflying to the
     policeorobstruction ofjustice.There arevarying consequences
     dependingon how m uch dam agethe1iecauses(moreon thatin a
     m oment),butthereisonesure-frewaytoavoidgettingyourselfinthat
     sim ation.


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                                            Entered   :AndFLSD
                                                          rev.Biro,et.aI. 06/09/2020 Page 29 of 39
                                                                  Docket
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    lY ou'
         vehearditbefore-maybeinasoapoperaoramovie-don'          ttalkto
     thepolicewithoutan atlorney present.And whileitm ay seem like a cliché
        line,itisthesinglem ostim po/ antpieceoflegaladvicewhen itcom esto
        deterring som eone from fling a false policereport.
    !
    1'l'he Consequences'    .A M isdem enororFelony Charge
    l              .
                   -                                     .-
                                                         '
    lOften, the resultofafalserepod isthe obstnzction orhindrance ofa
        policeinvestigation.Dependingupon thejurisdiction,afalsepolicerepol't
    jmaybechargedasamisdemeanororafelony.Misdemeanorchargesmay
    jresultinjailtermsofoneyearorles
    Ipayfines.lfaperson ischargedwi:.
                                     s.ppically,thedefendantmustalso
                                    IIafelony,they m aybelooldng atm ore
    lthanayearinjailandsubstantialsnes.Thepersonwhomadethefalse
    '


    jreportm ay also be liable in a civilsuit,such asiftheirreportcaused
        dam ageto another'sreputation.
    1
    I
    lAtthefederallevel,theconsequencesbecom e even m ore serious.A false
    ttrerepmortthatinvolvesterrorismistreatedthemostseverely,Vt.IZprison
             sofbetween seven and 2o yearsbeing com m on.The courtsm ay also
     consider afalse repol'tofterrorism asaviolentcrim e even ifno violence
    I
    'occurred.


    lT heDefense:ACriminalLawyer
     Ifyou arein a situation whereyou havefiled a falsepolicereport,whether
        ornotitw asintentional,itisbestto hirea crim inaldefense attorney as

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    l
    lw ork ofthepolice.Defending a falsereportcase istricky,butitcan be
     successfully handled.
    i        '                    'M
    lIfyoh
         uveeverseenNetflixs akingAMurdererdocuseries,youknow
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     purs
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    la globall
             y known exnm ple ofwhatcan happen when som eone speaksto
                 -



    ithepolicewithoutacriminaldefenselawyerpresent.
    l
    )and
    1Brenmdur
           ender
             Da.sThe
                 seywdoc
                      asum
                        conent
                           victedforlifeafteradmitlingtochargesofrape
                                                                  y
                              ary atlem ptsto falsify Dassey sstatem entto
        thepolice,andwhileitappearstothepublicthathewascoercedintoM ng
    lto theoo cer,he isstillin prison.How ever,ifDassey'sreportto the police
    l
    l
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                                                                 ,et.aI. 06/09/2020 Page 30 of 39
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    !wasinfactfllse,astheshowmakesitseem,hecouldhaveavoidedthe
    I
    :entire situation ifhew ould havehad acrim inaldefenselawyerpresentat
    l hetim e oftheinterrogation.
    lt
    l
    l       ,
    jDmsseyscaseisjustonepossibleavenuewhenitcomestolyingtothe
    Jpolice.Therearemanyotheroutcomesthatcanresultifyoulileafalse
    jpolicereport.Tolearnmore,checkouthowlongyouhavetofileapolice
    lrepox'tafter acrim ehastaken place.
    l
    1
    1 here arethe crim inaloffenceforkidnapping
    I
    t
    l
    1
      sxdnappkag
    l
    lThecrim e ofunlawfully seizing and carrying away ape
    I                                                      rsonbyforceor
    IFraud,orseizingand detainingaperson againsthisorherwillwith an
    iintenttoc.a1-1-.:thatperson aw ay atalatertim e.
    $
    I
    l
    IThelaw ofkidnapping isdiG cultto desneV :.IZprecision becauseitvaries
    l
    1fromjurisdictiontojurisdiction.Moststateandfederalkidnapping
    l
    hstam tesdefm etheterm lddnappingvaguely,and coudsfillin thedetails.
    I                               '
                                    -'-
                                      '' '
                                         -
                                         '' '-' '
                                                -'              .
    I
    1
    iGenerally,kidnappingoccurswhen aperson,withoutlawfulauthority,
    l
    jphysicallyasports(i.e.,m oves)anotherperson withoutthatotherperson's
    (consent,V :IZtheintenttousetheabduction in connection with som e
    I           .



    èothernefariousobjective.UndertheM odelPenalCode(asetofexem plary
    l
    IcriminalrulesfashionedbytheAm erican Law Institute),lddnapping
    l
    joccursw hen anypersonisunlawfullyandnon consensually asported and
                                                     -


    iheld forcetlain purposes.
    l                            Thesepurposesincludegainingaransom or
    1reward;facilitaling the com m ission ofa felony ora flightaflerthe
    $
    Icommission ofafelony;terrorizingorinflictingbodilyinjuryon thevictim
    !ora third person;and interferingW t.
                                        IAa governm entalorpolitical
    ifunction (ModelPenalCodej212 1).  .

    l
    lxidnappinglawsintheunitedstatesderivefromthecommonLawof
    llddnappingthatwasdevelopedbycourtsinEngland.Originally,thecrime
    l
    l
      ofkidnappingwmsdeEnedastheunlawfulandnon-consensual
    l
    ltransportationofapersonfrom onecountrytoanother Inthelate
                                                            .


    )nineteenth and early twentieth cenm ries,statesbegan to redefne
    1lddnapping
    l          , mostnotablyeliminatingtherequirementofinterstate
    Itransport
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                                                      :Andr       Docket
                                                           ev.Biro,et.aI. 06/09/2020 Page 31 of 39
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    lAtthefederallevel,CongresspassedtheLindberghActin1932toprohibit
    Iinterstatekidnapping (48 Stat.781(codified at18U.S.C.A.jj1201et
    l
    1seq.q).TheLindbergh Actwasnam ed forCharlesA.Lindbergh,a
    !
    'celebratedaviatorand AirForcecolonelwhosebabywaskidnapped and
    l
    jkilled in 1932.Theactprovidesthatifavictim isnotreleasedwithin 24
    lhoursaflerbeingabducted, acourtm aypresum ethatthevictim was
    I
    ;transported acrossstatelines.Thispresum pdon m aybe rebutted with
    t
    tevidencetothecontrary.Otherfederallddnappingstamtesprohibit
    l
    ilcidnappingin U S.territories,lddnapping on thehigh seasand in the air,
                        .


    iand lddnappingofgovenzm entofdcials(18 U.S.C.A.jj1201etseq.,1751
    1
    le.seq).    -

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    I
    kA person who isconvicted oflddnapping isusually sentenced to prison for
    !
    ia certain num berofyears.In som estates,and atthefederallevel,the
    i                                                         !
    itemn ofim prisonm entm ay be the rem ainderofthe offenders nam rallife.
    l
    lInjurisdictionsthatauthorizethedeath penalty,alddnapperischarged
    1
    l
    IV :IIacapitaloffenseifthelddnappingresultsin death.Kidnappingisso
        .


    Iseverely punished becauseitis a dreaded offense.Itusually occursin
    !connect'ionwith anothercriminaloffense, orunderlying crim e.ltinvolves
    i
    l
    lviolentdeprivation ofliberty,and itrequires aspecialcrim inalbolt
                                                                     u ess   .

    1Furtherm ore, the actofm oving a crim evictim exposesthevictim to rislcs
    I
    l
    iaboveand beyond thosethatare inherentin the underlying cdm e    .


    lThechiefjudicialconcernwiththechargeofkidnappingisDouble
    i
    rJeopardy,which ism ultiple punishm entforthe sam e offense.Itis
    i
    lprohibited by the Fifdh Am endm entto the U .S.Constim don.Kidnapping
    !
    Ioften isanactthatfacilitatesanotheroffense,suchasrape,Robbery,or
    !aSSaIIlt.Rape robbery,and assaultoflen involvethe actofm oving a
    1             ,

    j
    ipersonagainsthisorher* 11,which isthegravamen (i.e.,thesignificant
    Ielem ent)ofalddnappingcharge.Thus,apersistentproblem with
    ikidnappingprosecutionsisin determ iningwhetheralddnapping
    '


    iconviction would consdm te a second punishm entforthe snm e act.
    l
    l
    1
    .Lezislam reshavepassed stam tes, and courtshavefashioned nlles,to
    l -                                                     1) these
    1preventand detectdoublejeopardyinkidnappingcases.Genera y,
    l
    1law sand ruleshold thatforlcidnapping to becharged asa separate crim e,
    l
    jsom efactorm ustsetthe asportation apaz'tfrom a com panion clim e M ost
                                                                         .

    l
    (couz'tswillsustain multipleconvictionsiftheasportation exposesthe
    lvictim toincreased risk ofharm orresultsin harm tothevictim separate
    i
    ifrom thatcausedbythecom panion offense.In otherjurisdictions,thetest
    '
    tisw hethertheasportation involvesachangeofenvironm entoris
    î
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                                              Entered   on
                                                 Mail-Re:   FLSD
                                                         Andr       Docket
                                                             ev.Biro,et.al. 06/09/2020 Page 32 of 39

      designed to conceala com panion offense.

      In m oststates,an asportadon ofafew feetm ay consdtutethe separate
      offense oflddhapping;in otherstates,distance isnotafactor.In N ew
      York State,forexam ple,thefocusofthe kidnapping stam teisnot
      distance,butpurpose.Thus,an asportadon of27 citybloclcsm ightnot
      constim tekidnapping ifitism erely incidentalto a com panion crim e
      (Peoplev.Levy,15N.Y.2d 159,256N.Y.S.ZII793,2O4N .E.2d 842EN.Y.
      19651).Likewise,an asportadon from theborough ofM anhattan tothe
    l
    l
      borough ofQueensm ightnotconstim tekidnappingifitplaysno
      signifcantrolein thecom mission ofanothercrim e(Peoplev.Lombardi,
      2o N.Y.2d266,282N.Y.S.Zd 519,229 N.E.2d 2O6 ECt.App.19671).

      Som e stateshaveelim inated the asportation elem entfrom their
      kidnapping statutes.In Ohio,forexam ple,lddnapping isdesned in pal'tas
      restrainingthelibertyofanotherperson (OhioRev.CodeAnn.j2905.01
      EBaldwin 19962).Thiscreatesan increasedriskofdoublejeopardy in
      kidnapping convictionsbecause,by desnition,every robbery,rape,or
      assaultw ottld constim te kidnapping.H owever,the Ohio statelegislature
      hasenacted a statutethatprohibitsm ultiple convictionsforthe sam e
      conductunlessthedefendantexhibitsaseparateanim us(i.e.,aseparate
      intent)to comm itaseparatecrim e(j2941.25).W hethertheprosecution
      provesaseparateanim ustolddnap isaQuestion ofFactbased on the
      circum stancessurrounding the crim e.

      In Statev.Logan,60 Ohio St.2d 126,397N .E.2d 1345,14 Ohio Op.3d
      37a (1979),thesuprem eCourtofOhioheldthatthedefendantcould not
      be conW cted ofboth rape and lddnapping when he had m oved thevictim a
      m ere few feetand had released thevictim im m ediately aflerthe rape.
      Underthefactsofthe case,the asportation had no signilcance apartfrom
      the rapeoffense.According to the court,the defendanthad displayed no
      anim usbeyond thatnecessary to com m itrape,so punishm entforboth
      rape and kidnapping wasnotwarranted.

      In contrast,in Statev.W agner,191W is.2d 322,528N.W .2d 85(Ct.App.
      1995),theappealscouz'tupheldaseparateconvictionforkidnapping;In
      W agner,the defendantapproached two wom en on two separate oecasions
      in alaundrom at.Both tim es,the defendanttried to force the wom en into a
      bathroom to rape them .H ewas convicted oftwo countsofatlem pted
      srst-degree sexualassault,one countofkidnapping while arm ed,and one

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     020 0:19-cv-62181-AMC Document 36-1YahEntered
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          x d'
    jcountofattem.pted kidnapping while arm ed.
    I                                               Onappeal,hearguedthathe
        should nothavebeen convicted oflddnapping because,under section
        94o.31(1)(a)oftheW isconsin Statm es,kidnappingisdefinedin partas
        the carrying ofa person ''
                                 from oneplace to another,''and hehad nottaken
        hisvictim sto anotherplace.The courtdisagreed,holdingthatforced
        m ovem entfrom oneroom to anotherfallsw ithin the m eaning ofthefthe
    Ilddnappingstamte.Ultimately,theappealscourtaormedthedefendant's
    'sentence of72yearsin prison.


    lThelcidnappingofchildrenhaspresentedaparticttlarlyemotionalissue
    1f
    .


         orlawm akers.In 1984,in responseto thekidnapping and m urderofhis
        child Adam ,John W alsh founded,
                                       theN ationalCenterforM issing and
        Exploited Children (NCM EC).NCM EC servesasaresourcein providing

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        aboutw aysto help preventchild abduction.

    lIn1996,thekidnappingandmurderofAmberHagermaninTexas
    1inspired theDallas/FortW orth M sociation ofRadioM anagersand local
        law enforcem entagenciesin north Texasto createthe nation'sirst
        ''AM BER AIe/''plan.AM BER,in addition to being Am berH agerm an's
        firstnam e,also servesasan acronp n forAm erica'sM issing:Broadcast
    1EmergencyResponse.''AmberAlert''plansallow thedevelopmentofan
    l
    1earlywarningsystem tohelp6nd abductedchildren bybroadcasting
    linformationoverradioandtelevisiontothepublicasquicldyaspossible.
    )Thisinformationincludesdescriptionsandpicmresofthemissingchild,
    'thesuspectedabductor,asuspectedvehicle,andanyotherinformation
    I
    lavailableandvaluabletoidentifyingthechildandsuspect.
    I
    jFrom itsbeginningsin Texas,theAM BERAIeIIsystem spread until,by
    l2oo2,ssversionshadbeenadoptedatlocal,regional,andstatewide
    j
    'levels.Eighteenstateshadadoptedtheplanby2002,urgedonbythe
    I
    ,x cM Ec,which adoptedtheaM sEltAlertasone ofitstop priorities.Asa
    l
    lreslll
          tymanypeoplewereconvincedthattl,elate199osandnew
    1millennium saw asharpdeclineinchududnappings,wuchwerewell
    1
    )publicized,thankstoAMBERAIeIIS.Infact,theFBIreportedthatchild
        abductionshad acm ally declined from the 198os,from an average
        between 2oo and 3oo peryearto only 93 in zooo.

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                                                             e v.Biro,et.aI. 06/09/2020 Page 34 of 39
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       l
       t TheAM BERV eI   ISwereconsideredsosuccessful-creditedwith
       l
       !recovering 3o children- thatCongresspassed a nationalAM BER AIeA bill
       l
       laspal'tofthe ProsecutorialRem edies and OtherToolsto end the
       I
       1Exploitation ofchildren Today (PROTECT)Actof2003,Pub.L.No.108-
       i
       ;21,117 stat.650.underthisbill,the attorney general,in cooperato n with
       lthesecretaty oftransportation andthechairman oftheFederal
       i
       ECom m unicadonsCommission (FCC),appointsaNationalAM BERAIeII
        Coordinatorto overseethecom m unication network.TheAM BER AIe/
        CoordinatorattheJustice Departm entworksV :. IIstates,broadcasters,
        and 1aw enforcem entagenciesto setup AM BER plans,to serveas apoint
       tOfcontactto supplem entexisting AM BER plans,and to facilitate
       l
       iappropriateregionalcoordination ofAM BER AIe/S Grantswereprovided
                                                          .


       lto help setup effective AM BER Alertprogram s atthe state and local
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       l evels.
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       1Furtherreadings

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                                                         Andr        Docket
                                                             e v.Biro,et.al. 06/09/2020 Page 35 of 39



      Cross-references

      kidnapping
     the takingofa person againsthis/herwill(orfrom the controlofa parentorguardian)
     from one place to anotherundercircum stances in which the person so taken does
     nothave freedom ofmovem ent,will,ordecision through vi  olence:forcelthreator
      intimidation.Al
                    thoughitisnotnecessarythatthepurposebecrimlnal(slnceaI1
      kidnapping isa criminalfelony)thecapture usually involvessome related criminal
     actsuch as holding the person forransom ,sexualand/orsadistic abuse,orrape.It
     includes taking due to irresistible im pulse and a parenttaking and hiding a child in
     violati
           on ofcourtorder.An included crim e is false im prisonment.Any harm to the
     victim coupledwithkidnapping canraise the degree offelonyforthe injuryand can
      resultinacapi
                  tal(deathpenalty)offenseinsomestates,eventhouqhthevictim
     survives.O riginally itmeantthe stealing ofchildren,since 'kid''is chlld in
     Scandinavian Ianguages,butnow applies to adults aswell.

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     kidnapping an offence in English com mon law oftaking a person away againsthis
     willby force orfraud.ForScotland,see PLAGIUM .

      Collins Dictionary ofLaw @ W .J.Stewart,2006

      KIDNAPPING.The forcible and unlawfulabduction and conveying away ofa m an,
      wom an,orchild,from his orherhome,w ithouthis orherwillorconsent,and
      sending such person away,w i
                                 th an intentto deprive him orherofsome right.This is
      an o#ence atcom mon Iaw.
      A Law Dictionary,Adapted to the Constitution and Laws ofthe United States.By
      John Bouvier.Published 1856.
      kidnappingstatutesrecognizedifferenttypesandIevelsofkidnappinjandassign
      punishm entaccordingly.New YorkState,forexam ple,bases its definltion offirst-
      degree kidnapping on the purpose and Iength ofthe abduction.First-degree
      kidnappingoccurswhenaqersonabductsanotherpersontoobtainransom (N.Y.
      PenalCodeb135.25IMcKlnney1996)).First-degreekidnapqingalsooccurswhen
      the abduction Iastsformore than 12 hoursand the abductorlntendsto injurethe
      victim;toaccomplishoradvancethecommissionofafelony toterrorizethevictim
      ora third person'
                      ,orto interfere with a governm entalorpolitlcalfunction.An
      abduction thatresults in death is also first-degree kidnapping.A first-degree
      kidnapping in New York State is a class A-1 felony,w hich carries a sentence ofat
      Ieast20 years in prison (j 70.00).
      New York State also has a second-degree kidnapping statute.A person is guilty of
      second-degreekidnapping ifhe orsheabductsanotherperson (j 135.20).This
      crime lacksthe aggravating circum stances in srst-degree kidnapping,and itis
      ranked as a class B felony.A person who is convicted ofa class B felony in New
      YorkStatecanbesentencedtoonetoeightyearsinprison(170.00).
      Two key elem ents are comm on to aIIcharges ofkidnapping.First,the asportation
      ordetention m ustbe unlawful.Undervarious state and federalstatutes,notalI
      seizuresand aspodationsconstitute kidnapping:Police officersmayarrestandjaila
      person they suspectofa crim e,and parents are allowed to reasonably restrictand
      controlthe movem entoftheirchildren.
      Second,some aggravating circum stance m ustaccom pany the restraintor
      asportation.This can be a dem and formoney;a dem and foranything ofvalue;an

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                                                       FLSD      et.al. 06/09/2020 Page 36 of 39
                                                                Docket
     attempttoaffeltafunctionofjovernment;anattempttoinflictinjuryonthe
     abductee'
             ,an attem ptto terrorlze a third party;oran ademptto com m ita felony.

     In moststates,kidnapping statutes specify thatany unlawfuldetention orphysical
     movementofa child,otherthan thatperformed by a parentorguardi     an,constitutes
     kidnapping.An abduction ofa child thus need notbe accom panied by some other
     circumstance,such asExtortionorphysicalinjury,to qualifyforthe highestIevelof
     kidnapping charge.In the absence ofan aggravating circum stance,an unlawful,
     non-consensualrestraintorm ovem entis usually charged as som ething Iess than the
     highestdegree orIevelofkidnapping.

     Manystates have enaçted specialIawsforCarjacking,aspecializedform of
     kidnapping.Generally,carjacking occurswhenone personforcesa driveroutofthe
     driver'sseatandstealsthevehicle.Carjacking is afelonywhetherthe aggressor
     keeps the victim in the carorforces the vi
                                              ctim from the car.In Cali
                                                                      fornia,a
     carjackingstatuteiscontainedwithinthe penalcode'schajteronkidnapping,andit
     carriesa sentence oflife imprisonmentwithoutthe possibillty ofparole.(Cal.Penal
     Codej209.5(Westl).
     KidnapqingIawsaresimilarto I
                                awsonunlawfulorfeloniousrestraint,parental
     kidnapplng,and False Im prisonm ent.The:è crim es coverthe range ofunlaw ful-
     m ovem entand unlawful-restraintcases.Feloni  ous orunlawfulrestraint,also known
     as sim ple kidnapping,is the unlawfulrestraintofa person thatexposes the victim to
     physicalharm orplaces the victim in Slavery.ltis a Iesserform ofkidnapping
     becauseitdoesnotrequire restraintforaspecised qeriodorspecificjurpose (such
     asto secure moneyorcommitafelony).False imprl
                                                 sonmentisa relatlvely
     inoffensive,harmless restraintofanotherperson.Itis usuall
                                                             y a m isdem eanor,
     punishable byno morethana yearinjail.Parentalkidnapping isthe abduction ofa
     child bya parent.TheIaw on parentalkidnapping variesfrom jurisdiction to
     jurisdiction:Somejurisdictionsdefine itas afelony,othersasa misdemeanor.Many
     states considerparentalki
                             dnapping to be Iess offensive than classic kidnapping
     because ofthe strong bond between parents and children.


     A crime w as com m itted by anotherindividualiThe defendant''aided,counseled,
     com m anded,orencouraged''the otherperson in the com mission ofthe crime.The
     defendantactedwiththe requisite mentalstate intheirjurisdiction,for

     Iflsay no ldo notagree to the m otion to strike the otherofficers,would itm atter?

    jAIIIam tryingtodoandIbelievethatIam,isstandupformyrightsasanAmerican
    Icitizen,ablackmanfightingforhisequalrights,whichwasviolatedbutgangof
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    lassistinthe crime.
    Ihad requested fordocuments thatyou haven' tprovided yetsince you would Iike to
   use m y crim inalbackground as yourdefense Iwould Iike proofofthe day lwas a
   convicted felon any documents thatwas signed buy me stated by m e thatI'm a
   convictedfelon.By Iaw Iam required havethreewithheldjudication do the research
   and see how m any do lhave ifyou would Iike to use my criminalbackground my 2012
   case possession ofcannabis Ihighly recom m end you to contactmy previousAttorney
   Felipe Jaramillo,Attom eys Hugo Apellaniz they can fillyou in with any information with
   m e and the 2012 case possession ofcannabis thatIneverhad they know itand they
   could provide thatinform ation foryou.Ihaven'treceive an emailon notificati  on thatthe
   deposition transcriptis completed w hen w illyou inform me on thatinform ation so lcan
   come com e by and go overi   t? And Iwould Iike a copy ofthe deposition video as well.
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                                                               e v.Biro,et.aI.' 06/09/2020 Page 37 of 39
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          andIseethejudjegrantedyouthe90daysextensionIwillbesendingputtingina
          motion tothejudge.
            Iam willing to do a polygraph testand Iam requesting the sam e from every officer
            thatdealtwith m e throughoutthe years.From 2009 to this 2017 case, Ihave aIIthe
            names ifyou need a Iist.It's my rights.
          Sincerely
          W ilhelrms T AAndre

          Sentfrom Yahoo MailonAndroid


            On M on,M ar23,2020 at2:11 PM ,Hampton Johnson
            qW Hlohnson@ jambg.com> wrote:
               Good afternoon M r.Andre,
                PursuanttotheLOC,aIRl esfortheSouthern DisG ct,Iam required to conferV :IZyou priortofling
               any m odon requesting relieffrom the Court,exceptin lim ited circum stances.lintend to fle am otion
               to striketheadditionaloo cersyouhavenam ed (a1lom cersnotnam edBiroqfrom thisclaim because
               you havenotpled any causesofacdon againstthem and thedm e within which to do so hasexpired.
               Plemse adviseifyou oppose m y m odon oragreeto my m otion.Thank you.
               Sincerely,

               w .H nm pton Johnson IV
               Pm ner
               Johnson,Anqelm o,M ttrdoch,Burke,Piper& H ochm an,PA
               2455 EastSunriseBoulevard
               Suite looo
               Ft.Lauderdale,K orida 33304
               Phone:954-463-0100
               Fax: 954-463-2444

               The inform ation transm itted is privileged and confidential. Itis intended solely forthe
               review and use ofthe nam ed recipient. Any otherreview ordistribution ofthe
               com m unication is strictly prohibited. Ifyou have received this transm ittalin error,
               ylease (1)notifythesenderimmediately bytelephone (954)463-0100,(2)deletethis
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               m ail. You w illbe reim bursed forany long distance charges and m ailing costs.




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Case 0:19-cv-62181-AMC Document 36-1 Entered on FLSD Docket 06/09/2020 Page 38 of 39
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       Good afternoon Counselor,



       M y name isYvonne Nolan and Iam w riting on behal fofW ilhelrmsTeddysAndre my nephew ,
       w ho hashad the m isfortune ofpolice m isconductthatwasperpetrated upon him by M r.Ryan
       Biro and hiscolleaguesform the Sunrise police departm ent,onApril4,2017.



       On the above date,m r.Andre and hiscousinshad planned on going out,he stopped bythe the
       hotelwheretheywerestayingatthetime,(SunriseGrand hotel).Afterenteringthe hotelto
       inform hiscousinsthatheishere,mr.Andrewentbacktothe(whichisregisteredtome)I
       Ioaned i
              tto him.M r.Fella sleep inthe passengerside ofthe vehicle and wasaw oken by
       tapping on the window thiswasatapproxim ately 2:20 am,and brightlightsshining in hisface.



       ItwasofficerBiro,w ho had som ewhatinteracted with M r.Andre and hisfriendsand cousins
       earlieronApril3,2017 and Aldo a few days prioratthe hotel.OfficerBiro as M r.Andre ifhe
       wasok,M r.Andre indicatesthathe wasfine,fellasleepw hile he waswaiting.OfficetBiro asked
       forhis ID M r.Andre asked whyand then stated thathe would Iike to callhiscousinswho m ay
       have fallen asleep aswell,office Biro said no you don'thaveto callany one.M r.Andre said then
       you can checkw ith the hotelfrontdesk,officerBiro said no he don'thave to do anything.But
       justgivehim the ID.


       To be shot,M r.Andre waspulled outofthe vehicle,kicked,strangled,transported to the
       hospital(abystandersaw andcalledtheEMS).


       Hewasarrested forweaponpossessionand mari juana,none ofwhichwasproven incourtand
       hewasacquitted,he hasspent18 monthsinjailawaitinghistrialbecausethejudgewould not
       granthim bail.Needlessto sayhehasIosteveY hing heworkedforincludinganopportunityto
       bearadiostationmanager,wehadjustcelebratedthecontrad acoupledayspriorandhewas
       to travelto M aryland the day ofthe incident.



       Atthistime M r.Andre asfiled suitagainstthe officerand asyou can guess,he isgetting the
       runaround,delaysafterdelaysand extension afterextension beengranted bythe court,
       because he ispro-se.
Case 0:19-cv-62181-AMC Document 36-1 Entered on FLSD Docket 06/09/2020 Page 39 of 39




       ludgeMoreno isthejudge presidingoverthecase,heinitiallyhadindicatedthatacourtorder
       m qdiation done priorto trial,w hich wassetforAugustbuthad since moved to Novem ber.

       M r.Andre choice a mediatorM s.Karen Evans,officerBiro'sattorney filed a motionto Strickthe
       mediationand mediator.Then Iaterchanged hismind-Thejudgethen Iaterwentand strickthe
       attorney'sm otion and stated thatbeing thatM r.Andre is pro-se hedoesnothave to attend the
       mediation,whichnow givestheirattorneyanotherextension/delay,whathaveyou.


       M r.Andre had reached outto countlessattorneys,w ho atfirstw asready to assistthen Iater
       changed theirm ind w ith no explanation,unsure iftheywere intim idated by the Sunrise rise
       police departm ent.



       W e are seeking yourfirm 'sassistance,the case # is19-62-18-1-ClV M oreno Andre v Biro.




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